                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 BRAD AMOS                                              )
                                                        )      Case No. 3:21-cv-00923
 v.                                                     )      Richardson/Holmes
                                                        )
 THE LAMPO GROUP, LLC                                   )

                                            ORDER

       Pending before the Court is Defendant’s Motion for Resolution of Dispute Under the

Agreed Confidentiality Order. (Docket No. 118.) Although the time allowed for a response from

Defendant has not yet expired, the Court finds it appropriate to issue an interim order on the motion

to establish procedures for resolution of the merits of the motion (which the parties apparently

waited until the last possible minute to discuss, making the timing of any resolution inconsistent

with the summary judgment motion briefing schedule). The Clerk is, however, directed to maintain

Defendant’s motion (Docket No. 118) as pending on the docket. Plaintiff must respond to the

motion in accordance with Local Rule 7.01(b).

       According to the motion, the parties have reached a disagreement over whether certain

documents – namely deposition designations that Plaintiff may use in support of his response in

opposition to Defendant’s motion for summary judgment – can be designated as confidential.

Plaintiff states that the designations at issue come from the deposition transcripts of Luke LeFevre

(May 16, 2023), J.B. Waggoner (May 30, 2023), David DiCicco (June 9, 2023), Armando Lopez

(June 15, 2023), David Ramsey (June 21, 2023) and Jack Galloway (June 28, 2023) (the “Disputed

Information”). (Docket No. 119 at 2.)

       The parties previously entered into an Agreed Confidentiality Order (Docket No. 42),

which includes a dispute resolution procedure regarding documents designated as confidential:



                                                 1

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        The parties will resolve any disagreements regarding the designation of information
        or documents as Confidential pursuant to the Court’s procedures for discovery
        disputes. To facilitate resolution, if a party feels the document does not meet the
        standard for a protective order under the Federal Rules of Civil Procedure they may
        dispute marking the document as confidential by notifying the party seeking the
        confidentiality marking within 14 days of the designation. A party will act in good
        faith in claiming the document should not be marked as confidential. The party
        seeking the confidential marking bears the burden of showing it is entitled to such
        protection under the Federal Rules of Civil Procedure. A party shall treat a
        designated document or deposition testimony as Confidential and shall not file it
        with the court until 14 days after they inform the party seeking the designation that
        they disagree with the designation (grace period). If the party who seeks the
        Confidential designation seeks a judicial determination in accordance with the
        discovery dispute resolution procedures within the grace period, the parties will
        treat the document as Confidential and will not file said document unsealed prior
        to the court’s ruling. Pending a determination by the Court, after the parties have
        complied with the discovery dispute resolution procedures, the material designated
        as Confidential shall be treated in accordance with the provisions of this Order.

(Docket No. 42 at ¶ 6.)

        Defendant states that the parties have complied with the dispute resolution procedure set

forth above, but that they have reached an impasse regarding the Disputed Information. (Docket

No. 118 at 1–2.) Defendant further asserts that Plaintiff has indicated an intention to file the

Disputed Information publicly “despite the grace period set forth in the Confidentiality Order.”

(Id. at 2; Docket No. 119 at 4 n.1.) 1

        To allow compliance with the summary motion briefing schedule and for resolution of the

dispute described in Defendant’s pending motion, the Court ORDERS as follows:

        1.      If Plaintiff intends to include any Disputed Information in support of his response

in opposition to Defendant’s motion for summary judgment or for any other purpose, Plaintiff



        1
        Defendant has presented the Court with some argument as to the propriety of designating
the Disputed Information as confidential. (Docket No. 119 at 4–6.) However, the Court is neither
prepared to nor able to make this determination at this time. The Court will consider this question
following Plaintiff’s response to the pending motion and upon presentation of a motion to seal
made in accordance with Local Rule 5.03 and as directed in this Order.

                                                 2

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must file a motion to seal in compliance with Local Rule 5.03(b). 2 Defendant, as the party who

designated the Disputed Information as confidential, will retain the burden of meeting the

requirements set out in Local Rule 5.03(a).

       2.      If Plaintiff files a response that includes Disputed Information and for which he

files a motion to seal in accordance with the preceding paragraph and Local Rule 5.03(a), he must

also separately file a redacted version of the response as required by Local Rule 5.03(c).

       It is SO ORDERED.




                                              BARBARA D. HOLMES
                                              United States Magistrate Judge




       2
          The Agreed Confidentiality Order requires the party who desires to file information or
documents as confidential to file a motion to seal in accordance with Local Rule 5.03. (Docket No.
42 at ¶ 7.) However, the Order does not contemplate the filing of a motion to seal by the party who
is challenging the designation of information or documents as confidential. Nevertheless, Local
Rule 5.03 does contemplate for such an occasion.

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